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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                     §
                                                           §
HOUTEX BUILDERS, LLC, et al.,1                             §               Case No. 18-34658
                                                           §               Chapter 11
                                                           §
                           DEBTORS.                        §
                                                           §


          DEBTORS’ APPLICATION TO EMPLOY DIAMOND McCARTHY LLP
          AS COUNSEL FOR THE DEBTORS AND DEBTORS-IN-POSSESSION

         THIS APPLICATION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
         YOU. IF YOU OPPOSE THE APPLICATION YOU SHOULD IMMEDIATELY
         CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
         AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
         RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
         FILE AND SERVE YOUR RESPONSE WITHIN 23 DAYS OF THE DATE
         THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
         APPLICATION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
         TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
         FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE
         NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING.
         UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY
         CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
         MOTION AT THE HEARING.

         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE JEFFREY P. NORMAN, UNITED STATES BANKRUPTCY JUDGE:

         HOUTEX Builders, LLC, 2203 Looscan Lane, LLC and 415 Shadywood, LLC (collectively

as debtors and debtors-in-possession, the “Debtors”) file this Application to Employ Diamond McCarthy

LLP as Counsel for the Debtors and Debtors-in-Possession (the “Application”), and the Declaration of




1        The names of the Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: HOUTEX Builders, LLC (2111); 2203 Looscan Lane, LLC (1418); and 415
         Shadywood, LLC (7627).
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Charles M. Rubio (“Rubio Declaration”), attached as Exhibit A hereto in support of the Application,

and respectfully states as follows.

                                          Factual Background

        1.        On August 23, 2018 (“Petition Date”), the Debtors each filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code thereby commencing these Chapter 11 Cases.

        2.        Prior to the Petition Date, the Debtors operated as special purpose entities

established for the purpose of constructing new houses. Debtor Houtex Builders, LLC owns the

properties located at 3 Thornblade Circle, The Woodlands, TX 77389 (“Thornblade”) and 5325

Lynbrook Dr., Houston, TX 77056 (“Lynbrook”). The houses on Thornblade and Lynbrook are

completely built and these properties are currently being marketed for sale through a real estate

agent. Debtor 415 Shadywood, LLC owns the property located at 415 Shadywood Rd., Houston,

TX 77057 (“Shadywood”). The construction of the house on Shadywood is incomplete. Debtor

2203 Looscan Lane, LLC owns the property located at 2203 Looscan Ln., Houston, TX 77019

(“Looscan” and collectively with Lynbrook and Shadywood, the “Properties”). The construction of

the house on Looscan is incomplete. The Properties are the primary assets of the Debtors’ estates.

                                         Jurisdiction and Venue

        3.        This Court has jurisdiction over these Chapter 11 Cases pursuant to 28 U.S.C.

§ 1334. This is a core proceeding under 28 U.S.C. § 157(b)(2)(A). Venue of the Debtors Chapter 11

Cases is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.        The statutory bases for the relief sought are §§ 327(a), 330, and 1107(b) of title 11 of

the United States Code, 11 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”), rules 2014,

2016, and 6003 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule

2014-1 of the Local Rules for the U.S. Bankruptcy Court for the Southern District of Texas (the

“Local Rules”).



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                                          Relief Requested

         5.     The Debtors request that the Court enter an order substantially in the form of the

proposed order attached hereto authorizing the Debtors to retain Diamond McCarthy LLP

(“Diamond McCarthy”) as general bankruptcy counsel to the Debtors nunc pro tunc to the Petition

Date pursuant to the terms of the engagement agreement (the “Engagement Agreement”) attached

hereto as Exhibit B.

                                           Basis for Relief

         6.     Section 327(a) of the Bankruptcy Code authorizes a debtor-in-possession to employ

attorneys that do not hold or represent an interest adverse to its estate and that are disinterested

persons to assist it with its duties under the Bankruptcy Code. The Debtors retention of Diamond

McCarthy is necessary to enable the Debtors to fulfill their duties under the Bankruptcy Code as a

debtor-in-possession and is in the best interests of the Debtors’ estates.

    A. Diamond McCarthy’s Qualifications.

         7.     Diamond McCarthy has substantial expertise and experience in all aspects of

bankruptcy matters and with respect to legal (both state and federal, including bankruptcy) and

business issues. Diamond McCarthy possesses the experience, ability, and resources necessary to

provide the full range of services the Debtors will need during the pendency of these Chapter 11

Cases.

         8.     Since its engagement, Diamond McCarthy has been working closely with the

Debtors to provide legal advice on various matters involving financial restructuring and insolvency

issues, including the preparation of the requisite petitions, pleadings, and related documents for the

Debtors’ Chapter 11 Cases. As a result, Diamond McCarthy is well acquainted with the Debtors

corporate history, debt structure, and business issues that will be critically important to the Debtors

and their estates during these Chapter 11 Cases.



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       9.      Diamond McCarthy is also familiar with the legal issues that the Debtors must

resolve in order to bring these Chapter 11 Cases to a successful conclusion. For these reasons, the

Debtors believe that Diamond McCarthy is uniquely qualified to provide the Debtors with efficient

and effective representation in these Chapter 11 Cases.

   B. Scope of Services

       10.     Diamond McCarthy will render general bankruptcy representation to the Debtors,

including but not limited to the following:

               a.      advising the Debtors with respect to their powers and duties as a debtors-in-
                       possession in the continued management and operation of their businesses
                       and properties;

               b.      advising and consulting on the conduct of these Chapter 11 Cases, including
                       all of the legal and administrative requirements of operating in chapter 11;

               c.      attending meetings and negotiating with representatives of creditors and
                       other parties in interest;

               d.      taking all necessary actions to protect and preserve the Debtors’ estates,
                       including prosecuting actions on the Debtors’ behalf, defending any actions
                       commenced against the Debtors, and representing the Debtors in
                       negotiations concerning litigation in which the Debtors is involved, including
                       prosecuting objections to claims filed against the Debtors’ estates;

               e.      preparing pleadings in connection with these Chapter 11 Cases, including
                       motions, applications, answers, draft orders, reports, and other documents
                       necessary or otherwise beneficial to the administration of the Debtors’
                       estates;

               f.      representing the Debtors in connection with obtaining authority to use cash
                       collateral;

               g.      appearing before the Bankruptcy Court and appellate courts as appropriate to
                       represent the interests of the Debtors’ estates;

               h.      taking any necessary actions on behalf of the Debtors to negotiate, prepare,
                       and obtain approval of a disclosure statement and confirmation of a chapter
                       11 plan and all documents related thereto; and

               i.      performing all other necessary legal services for the Debtors in connection
                       with the prosecution of these Chapter 11 Cases, including: (i) analyzing the
                       Debtors’ leases and contracts and the assumption and assignment or



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                        rejection thereof; (ii) analyzing the validity of liens asserted against the
                        Debtors and their assets; and (iii) advising the Debtors on other bankruptcy
                        litigation matters.

    C. Diamond McCarthy’s Disinterestedness

        11.     To the best of the Debtors’ knowledge, the partners and other attorneys and

professionals at Diamond McCarthy do not have any interest adverse to the Debtors or any

connections with the Debtors, their creditors, directors, officers, or other significant parties in

interest, or their respective attorneys and accountants.

        12.     Based upon the Rubio Declaration, the Debtors submit that Diamond McCarthy is a

“disinterested person” as that term is defined in §§ 101(14) and 1107(b) of the Bankruptcy Code.

        13.     The Debtors have been informed that Diamond McCarthy will conduct an ongoing

review of its files to ensure that no disqualifying circumstances arise, and if any new relevant facts or

relationships are discovered, Diamond McCarthy will supplement its disclosure to the Court. Based

on the Rubio Declaration, the Debtors believe that Diamond McCarthy is in compliance with the

requirements of §§ 327(a), 329 and 504 of the Bankruptcy Code and Bankruptcy Rules 2014 and

2016.

    D. Diamond McCarthy’s Compensation

        14.     As discussed in the Rubio Declaration, Diamond McCarthy received a prepetition

retainer from Charles C. Foster in the amount of $25,000. Prior to the filing of Chapter 11,

Diamond McCarthy drew down and applied the total amount of the retainer to the invoice through

August 23, 2018. Charles Foster paid an additional $37,688.41 for the balance of fees billed by

Diamond McCarthy for prepetition services, together with the chapter 11 filing fee of $1,717.00 for

each of the three Debtors.

        15.     As of the Petition Date, there were no outstanding invoices and the Debtors did not

owe Diamond McCarthy any amounts.



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       16.     The Debtors understand that for services rendered following the Petition Date,

Diamond McCarthy intends to apply to the Court for allowance of compensation and

reimbursement of expenses in accordance with the applicable provisions of the Bankruptcy Code,

including but not limited to §§ 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the

Local Rules, the guidelines (the “Guidelines”) established by the United States Trustee for the

Southern District of Texas (the “U.S. Trustee”), and orders of this Court in these Chapter 11 Cases

(the “Orders”), for all services performed and expenses incurred after the Petition Date.

       17.     Subject to the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules,

the Local Rules, the Guidelines and Orders, the Debtors propose to pay Diamond McCarthy its

customary hourly rates for services rendered that are in effect from time to time, as set forth in the

Rubio Declaration.      The Debtors submit that Diamond McCarthy’s customary terms of

reimbursement, compensation, and hourly rates are reasonable. Diamond McCarthy will notify the

Debtors, and the U.S. Trustee of any change in the hourly rates charged by Diamond McCarthy for

services rendered while these Chapter 11 Cases are pending.

       18.     Diamond McCarthy intends to seek reimbursement for expenses incurred in

connection with its representation of the Debtors in accordance with Diamond McCarthy’s normal

reimbursement policies and standard terms of retention, subject to any modifications as to such

policies and standard terms that Diamond McCarthy may be required to make to comply with the

Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the Guidelines or Orders. Diamond

McCarthy’s disbursement policies pass through all out-of-pocket expenses at actual cost. Other

reimbursable expenses (whether the service is performed by Diamond McCarthy in-house or

through a third-party vendor) include, but are not limited to, facsimiles, toll calls, deliveries, court

costs, transcript fees, travel and clerk fees. As discussed herein, however, Diamond McCarthy will




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not seek reimbursement of any expenses to the extent they are inconsistent with the Guidelines,

Local Rules or Orders of the Court.

                                          No Prior Request

        19.     No prior motion or application for the relief requested herein has been made to this

Court or any other court.

                                       Nunc Pro Tunc Relief

        20.     Pursuant to Local Rule 2014-1(b)(1), “[i]f an application for approval of the

employment of a professional is made within 30 days of the commencement of that professional’s

provision of service, it is deemed contemporaneous.”           Bankruptcy Rule 9006(a)(1), governs

computing time periods under the Bankruptcy Local Rules, and provides that “[w]hen the period is

stated in days or a longer unit of time: (A) exclude the day of the event that triggers the period;

(B) count every day, including intermediate Saturdays, Sundays, and legal holidays; and (C) include

the last day of the period, but if the last day is a Saturday, Sunday, or legal holiday, the period

continues to run until the end of the next day that is not a Saturday, Sunday, or legal holiday.”

        21.     Diamond McCarthy commenced providing services to the Debtors on August 23,

2018, the Petition Date. The thirtieth day after August 23, 2018 was August 22, 2018, which is a

Saturday. Thus, this Application is deemed filed contemporaneous with the commencement of the

provision of services to the Debtors-In-Possession.




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                                            Conclusion

       WHEREFORE, the Debtors respectfully request that this Court enter an order substantially

in the form of the proposed order attached hereto and grant any other appropriate relief.

Dated: September 24, 2018                             Respectfully submitted,

                                                      DIAMOND McCARTHY LLP

                                                      /s/ Charles M. Rubio
                                                      Charles M. Rubio
                                                      TBA No. 24083768
                                                      crubio@diamondmccarthy.com
                                                      Two Houston Center
                                                      909 Fannin, 37th Floor
                                                      Houston, TX 77010
                                                      Telephone: (713) 333-5100
                                                      Facsimile: (713) 333-5199

                                                      Proposed Counsel for the Debtors and Debtors in
                                                      Possession

                                                      - and -

                                                      Hou-Tex Builders, LLC, 415 Shadywood,
                                                      LLC, and 2203 Looscan Lane, LLC

                                                      By:       /s/ Charles C. Foster
                                                                Charles C. Foster, Manager


                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served by the Court’s
CM/ECF service to all parties registered to receive electronic notice in this case on the date hereof
and a copy has been transmitted to Hector Duran, trial attorney for the U.S. Trustee by email to
Hector.Duran.Jr@usdoj.gov.



                                                                 /s/ Charles M. Rubio




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                                  Exhibit A


                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                     §
                                                           §
HOUTEX BUILDERS, LLC, et al.,1                             §               Case No. 18-34658
                                                           §               Chapter 11
                                                           §
                           DEBTORS.                        §
                                                           §


         DECLARATION OF CHARLES M. RUBIO IN SUPPORT OF DEBTORS’
              APPLICATION TO EMPLOY DIAMOND McCARTHY LLP
         AS COUNSEL FOR THE DEBTORS AND DEBTORS-IN-POSSESSION

         I, Charles M. Rubio, declare under penalty of perjury as follows:

         1.       I am an attorney at law duly admitted and in good standing to practice in Texas and

New York and before the United States District Courts for the Southern, Northern, Eastern, and

Western Districts of Texas and the Southern and Eastern Districts of New York. I am a partner in

the Houston office of the law firm Diamond McCarthy LLP, located at 909 Fannin, Suite 3700,

Houston, Texas 77010.

         2.       I make this declaration in support of Debtors’ Application to Employ Diamond

McCarthy LLP as Counsel for the Debtors and Debtors-in-Possession (“Application”)2.

         3.       Except as otherwise noted, all facts set forth in this declaration are based upon my

personal knowledge, upon the client and matter records of Diamond McCarthy reviewed by other

lawyers and paraprofessionals at Diamond McCarthy under my supervision and direction, or derived

from information available to me that I believe to be true and correct.




1        The names of the Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: HOUTEX Builders, LLC (2111); 2203 Looscan Lane, LLC (1418); and 415
         Shadywood, LLC (7627).
2        Capitalized terms used but not defined herein have the meanings assigned to such terms in the Application.

RUBIO DECLARATION                                                                                             Page 1 of 7
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a.     Retention, Prior Representation, and Scope of Services

       4.      HOUTEX Builders, LLC, 2203 Looscan Lane, LLC and 415 Shadywood, LLC

(collectively, the “Debtors”) retained Diamond McCarthy to provide legal advice to the Debtors

pursuant to that certain Engagement Agreement, dated August 21, 2018.             Pursuant to the

Engagement Agreement, Diamond McCarthy provides advice on an hourly basis and charges the

Debtors its standard hourly rates. Diamond McCarthy proposes continuing charging these hourly as

general bankruptcy counsel during the Chapter 11 Cases subject to regular increases in the hourly

rates as described in the Engagement Letter. As described below, these rates are reasonable and fall

within the range of rates charged by other counsel on similar matters in the Houston market.

       5.      Prior to the Debtors’ engagement and retention of Diamond McCarthy, Charles C.

Foster, engaged Diamond McCarthy to provide restructuring advice with respect to potential

personal liabilities and the Debtors. An engagement agreement between Mr. Foster’s and Diamond

McCarthy for such services was entered into on June 26, 2018.

       6.      Pursuant to the Engagement Agreement between the Debtors and Diamond

McCarthy, Mr. Foster acknowledged that Diamond McCarthy cannot represent any party adverse to

the Debtors and that Diamond McCarthy cannot represent Mr. Foster as a post-petition lender to

the Debtors. Diamond McCarty advised Mr. Foster to retain his own counsel.

       7.      Prior to the chapter 11 filings, Diamond McCarthy received a prepetition retainer

from Charles C. Foster in the amount of $25,000. Prior to the filing of Chapter 11, Diamond

McCarthy drew down and applied the total amount of the retainer to the invoice through August 23,

2018. Charles Foster paid an additional $37,688.41 for the balance of fees billed by Diamond

McCarthy for prepetition services, together with the chapter 11 filing fee of $1,717.00 for each of

the three Debtors.




RUBIO DECLARATION                                                                         Page 2 of 7
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       8.      As of the Petition Date, Diamond McCarthy was not a creditor of the Debtors.

There were no outstanding invoices and the Debtors did not owe Diamond McCarthy any amounts.

       9.      On a post-petition basis, Diamond McCarthy will serve as general bankruptcy

counsel to the Debtor. These services include or are expected to continue to include the following:

               a. advising the Debtors with respect to their powers and duties as a debtor-
                  in-possession in the continued management and operation of its
                  businesses and properties;

               b. advising and consulting on the conduct of the Chapter 11 Cases,
                  including all of the legal and administrative requirements of operating in
                  chapter 11;

               c. attending meetings and negotiating with representatives of creditors and
                  other parties in interest;

               d. taking all necessary actions to protect and preserve the Debtors’ estates,
                  including prosecuting actions on the Debtors’ behalf, defending any
                  actions commenced against the Debtors, and representing the Debtors in
                  negotiations concerning litigation in which the Debtors are involved,
                  including prosecuting objections to claims filed against the Debtors’
                  estate;

               e. preparing pleadings in connection with this Chapter 11 Cases, including
                  motions, applications, answers, draft orders, reports, and other
                  documents necessary or otherwise beneficial to the administration of the
                  Debtors’ estate;

               f. representing the Debtors in connection with obtaining authority to use
                  cash collateral;

               g. appearing before the Bankruptcy Court and appellate courts as
                  appropriate to represent the interests of the Debtors’ estates;

               h. taking any necessary actions on behalf of the Debtors to negotiate,
                  prepare, and obtain approval of a disclosure statement and confirmation
                  of a chapter 11 plan and all documents related thereto; and

               i.   performing all other necessary legal services for the Debtors in
                    connection with the prosecution of these Chapter 11 Cases, including:
                    (i) analyzing the Debtors’ leases and contracts and the assumption and
                    assignment or rejection thereof; (ii) analyzing the validity of liens asserted
                    against the Debtors and their assets; and (iii) advising the Debtors on
                    other bankruptcy litigation matters.


RUBIO DECLARATION                                                                              Page 3 of 7
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        10.     This foregoing non-exclusive list describes services essential to the Debtors in the

Chapter 11 Cases. These services represent a continuation of the comprehensive legal advice and

services provided to the Debtors in the weeks leading up to the Petition Date.

b.      Qualifications, Proposed Compensation, and Pre-Petition Compensation

        11.     The Diamond McCarthy partners and associates that will make up the team

representing the Debtors have long-standing experience serving as bankruptcy counsel in business

bankruptcy cases, resolving complex litigation matters involving bankruptcy debtors, corporate

reorganization, and debtor/creditor relations, and are well-qualified to represent the Debtors’

interests in the Chapter 11 Cases. Diamond McCarthy’s experience and expertise in large and

complex business reorganization and insolvency cases will substantially benefit the Debtors’ estates

because Diamond McCarthy’s services will promote the effective and efficient administration of the

Debtors’ case and will help to maximize the value of the estate.

        12.     The Diamond McCarthy team for this engagement will be led by me and will include

my partner, J. Maxwell Beatty.

        13.     Subject to Court approval, the Debtors’ employment of Diamond McCarthy will be

governed by the terms of the Application. Compensation and reimbursement of expenses will be

made by the Debtors pursuant to the Application and upon Court approval pursuant to § 330 of the

Bankruptcy Code. The Firm anticipates seeking interim compensation pursuant to § 331 of the

Bankruptcy Code and any appropriate order of the Court.

        14.     The current standard hourly rates charged by Diamond McCarthy range from

$365.00 to $750.00 per hour for partners and counsel, $265.00 to $340.00 per hour for associates,

and $145.00 to $260.00 per hour for paralegals and support staff. The following is a list of the

Diamond McCarthy attorneys and paraprofessional who will be providing the primary legal services

for the Debtors in connection with this case, as well as their standard hourly rates currently in effect:


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                Charles M. Rubio                        $475.00 per hour
                J. Maxwell Beatty                       $475.00 per hour
                Thomas Moss                             $325.00 per hour
                Paralegals                              $145-260.00 per hour

        15.     I believe these rates are reasonable and consistent with the rates charged by

professionals with comparable experience in the Houston, Texas legal market.

        16.     The above-outlined hourly rates are subject to periodic review (generally annually) to

reflect changes in the economy, experience, and other factors.

        17.     Other than the Debtors’ agreement to compensate Diamond McCarthy at its regular

hourly rates and to reimburse Diamond McCarthy for the reasonable and necessary expenses incurred

on behalf of the Debtors, Diamond McCarthy has not received any promises from the Debtors or any

other person to compensate or reimburse Diamond McCarthy in connection with the Debtors’ cases.

        18.     The rate of each professional working on this case will be clearly reflected in

Diamond McCarthy’s invoices and fee applications. Diamond McCarthy will maintain detailed

records of costs and expenses incurred in connection with its legal services and these will be set

forth in detail as part of the monthly invoice and fee applications.

        19.     Neither Diamond McCarthy nor any partners of Diamond McCarthy have divided,

paid over or shared, or agreed to divide, pay over or share, (a) any compensation it has or they have

received or may receive for services rendered or expenses incurred in connection with the Debtors’

cases with another party or person (except as among the partners, counsel and associates of Diamond

McCarthy), or (b) any compensation another party or person has received or may receive for services

rendered or expenses incurred in connection with this case.

c.      Eligibility and Disinterestedness

        20.     Diamond McCarthy performed the following actions to determine whether the Firm

or any of its attorneys has any conflict of interest or connection that would preclude Diamond

McCarthy from serving as the Debtors’ bankruptcy counsel in these Chapter 11 Cases:

RUBIO DECLARATION                                                                           Page 5 of 7
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                a.      First, Diamond McCarthy did an initial conflict check with Debtors as the
                        prospective client. The conflict search revealed no conflicts or connections
                        with the Debtor.

                b.      Second, Diamond McCarthy conducted a conflict check against all the parties
                        in interest set forth on Exhibit 1 to the names that Diamond McCarthy
                        maintains in its client database created from its conflicts clearance records.
                        The conflict check did not reveal any conflicts.

                c.      Third, either I or my staff sent multiple emails to all email account holders
                        within Diamond McCarthy requesting a conflict check be performed on the
                        above parties. Such email also requested whether any user knew of any
                        connection to the adverse parties.

        21.     The results of the foregoing conflict check process confirm that neither I, nor

Diamond McCarthy, nor any of its members or associates, to the best of my knowledge, have any

disqualifying connections with the Debtors, creditors, any other party in interest, their respective

attorneys and accountants, the U.S. Trustee, or any person employed in the office of the U.S.

Trustee. Diamond McCarthy is not a creditor of the Debtors.

        22.     Diamond McCarthy practices law in the insolvency-related arena, and our practice

includes insolvency-related litigation. Consequently, Diamond McCarthy may have “connections”

with many of the attorneys and other professionals involved in the Debtors’ Chapter 11 Cases.

Diamond McCarthy may have referred matters to other professionals involved in the Debtors’ cases,

and it may have been referred matters by such parties. Diamond McCarthy may represent or have,

from time to time, represented or been adverse to one or more of the professionals involved in the

Debtors’ Chapter 11 Cases. Diamond McCarthy has identified several parties in interest in these Chapter

11 Cases that have been creditors in cases in which Diamond McCarthy has represented the Chapter 7

Trustee, Debtor-in-Possession, or Official Committee.

        23.     Neither I, nor Diamond McCarthy, nor any of its partners or associates, insofar as I

have been able to ascertain, represents any interest adverse to the Debtors in the matters upon

which Diamond McCarthy is to be engaged. To the best of my knowledge, Diamond McCarthy is a


RUBIO DECLARATION                                                                           Page 6 of 7
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“disinterested person” as that term is defined in § 101(14) of the Bankruptcy Code, in that Diamond

McCarthy, its partners, counsel, and associates:

               a.      are not creditors, equity security holders or insiders of the Debtors;

               b.      are not and were not, within 2 years before the date of the filing of the
                       petition, a director, officer or employee of the Debtors; and

               c.      do not have an interest materially adverse to the interest of the estate or of
                       any class of creditors or equity security holders, by reason of any direct or
                       indirect relationship to, connection with, or interest in, the Debtors, or for
                       any other reason.

       24.     Despite Diamond McCarthy’s best efforts to identify and disclose its connections with

the adverse parties in the Debtors’ Chapter 11 Cases, Diamond McCarthy is unable to state with

absolute certainty that every client representation or other connection has been disclosed. In this

regard, if Diamond McCarthy discovers additional information that requires disclosure, Diamond

McCarthy will file a supplemental disclosure with the Court.

       25.     The proposed retention of Diamond McCarthy is not prohibited by or improper under

Bankruptcy Rule 5002. Diamond McCarthy and the professionals it employs are qualified to

represent the Debtors in the matters for which Diamond McCarthy is proposed to be retained.

       26.     I believe that Diamond McCarthy is eligible for employment and retention by the

Debtors pursuant to the Bankruptcy Code and the applicable Bankruptcy Rules.



       I declare under penalty of perjury under the laws of the State of Texas that the foregoing is

true and correct and this declaration is executed at Houston, Texas, on September 24, 2018.


                                              By: /s/ Charles M. Rubio
                                                   Charles M. Rubio




RUBIO DECLARATION                                                                               Page 7 of 7
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                                        EXHIBIT 1

                                  List of Parties in Interest

Debtors                                        Elegant Additions
                                               Exterior Creations
HouTex Builder, LLC                            Ferguson Enterprises
415 Shadywood, LLC                             Grant Stone LLC
2203 Looscan Lane, LLC                         Houston Custom Floor
                                               Independent Bank
                                               Noel’s Iron Works, LLC
Creditors                                      Jim D. Nored
Aldrete’s Masonry LLC                          Pensco Trust Company, LLC
Alpine Cut Stone                               South Texas Brick & Stone, LLC
BMC                                            TP Glass
Brothers II Concrete LLC                       Wishbone Welding, LLC
Chase Drywall                                  Harold “Hap” May
Communitybank of Texas, N.A.                   Harold May
EFH Consulting Engineers, Inc.                 Pedco Roofing, Inc.
Esmeralda Painting, Inc.                       Ted A. Cox
Forja Designs, LLC
Gainsborogh Waste                              Other Parties-in-Interest
Hmaidan & Hmaidan, LLC                         Robert Parker
High Performance Home Companies                Brad Smith
L. Hernandez Construction, Inc.                CD Homes
Marchal/Stevenson Elevator Co., Inc.           Bruce J. Ruzinsky
Matt’s Seamless Gutter Service                 Linebarger Goggan Blair & Sampson, LLC
Medina’s Plumbing
Kyle L. Dickson                                U.S. Trustee:
Pedco Roofing, Inc.                            Henry G. Hobbs
Premier Technology Group
Pr-Surv                                        Employees of the U.S. Trustee’s Office:
River Oaks Property Owners, Inc.
Scholl Lumber                                  Diane Livingstone
SE Construction Inc.                           Jacqueline Boykin
Tax Assessor – Collector                       Hector Duran
Texas Outhouse                                 Barbara Griffin
Carlton Woods Creekside Association            Luci Johnson-Davis
Great Southwest Finance Group                  Christine March
Colin Magee                                    Linda Motton
Harris Montgomery Counties MUD                 Glenn Otto
Spirit of Texas Bank                           Patricia Schmidt
Tanglewood Homes Association                   Gwen Statham
The Woodlands Township                         Stephen Statham
Tomball ISD                                    Clarissa Waston
Circa Lighting




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                           Exhibit B
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                                   Proposed Order



                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                     §
                                                           §
HOUTEX BUILDERS, LLC, et al.,1                             §               Case No. 18-34658
                                                           §               Chapter 11
                                                           §
                           DEBTORS.                        §
                                                           §


         ORDER APPROVING EMPLOYMENT OF DIAMOND McCARTHY LLP
         AS COUNSEL FOR THE DEBTORS AND DEBTORS-IN-POSSESSION

         Upon the Application (the “Application”)2 filed by HOUTEX Builders, LLC, 2203 Looscan

Lane, LLC and 415 Shadywood, LLC (collectively, the “Debtors”) for retention and employment of

Diamond McCarthy LLP (“Diamond McCarthy”) as general bankruptcy counsel, pursuant to

§§ 327(a), 330, and 1107(b) of the Bankruptcy Code, as more fully set forth in the Application and

all attachments to the Application; and upon consideration of the Court’s finding that (i) the Court

has jurisdiction over this matter pursuant to 28 U.S.C. § 1334; (ii) this is a core proceeding pursuant

to 28 U.S.C. § 157(b); (iii) venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409;

(iv) the Application and Rubio Declaration are in full compliance with all applicable provisions of

the Bankruptcy Code, Bankruptcy Rules, Local Rules of the Southern District of Texas, and Orders

and procedures of this Court; (v) Diamond McCarthy does not represent an interest adverse to the

Debtors estates with respect to the matters upon which they are to be engaged and are “disinterested

persons” within the meaning of that term under §§ 101(14) and 1107(b) of the Bankruptcy Code;

(vi) Diamond McCarthy is qualified to represent the Debtors estates under § 327 of the Bankruptcy


1        The names of the Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: HOUTEX Builders, LLC (2111); 2203 Looscan Lane, LLC (1418); and 415
         Shadywood, LLC (7627).
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         Capitalized terms used but not defined herein have the meanings assigned to such terms in the Application.
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Code; (vii) the terms of Diamond McCarthy’s employment have been disclosed and are reasonable

under the circumstances; (viii) proper and adequate notice of the Application and the deadline to file

any objections to the Application was given, and no other or further notice is necessary; (ix) the legal

and factual bases set forth in the Application establish just cause for the relief granted herein; (x) the

relief sought in the Application is in the best interests of the Debtors and their estates; and after due

deliberation and sufficient cause appearing therefor, it is hereby ORDERED THAT:

        1.      In accordance with §§ 327(a), 330 and 1107(b) of the Bankruptcy Code, the Debtors

are authorized to employ and retain Diamond McCarthy as of the Petition Date as their general

bankruptcy counsel, under the terms and conditions set forth in the engagement agreement attached

hereto as Exhibit A.

        2.      Diamond McCarthy is authorized to perform any and all legal services for the

Debtors that are necessary or appropriate in connection with this Chapter 11 Case.

        3.      Diamond McCarthy shall be compensated for its services and reimbursed for related

expenses in accordance with the terms and conditions of the Application and the procedures

provided in §§ 330 and 331 of the Bankruptcy Code, and in accordance with applicable Bankruptcy

Rules, Local Rules, and any other applicable Orders of this Court.

        4.      All compensation for services rendered and reimbursement for expenses incurred

during this Chapter 11 Case shall be paid after further application to and order of this Court, in

accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local

Rules, the Guidelines, and Orders of this Court in this Chapter 11 Case.

        5.      This order shall be immediately effective from the Petition Date and enforceable

upon entry.

        6.      This order, and all acts taken in furtherance or reliance thereon, shall be effective

notwithstanding any objection until further order of this Court.



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       7.       The Debtors and Diamond McCarthy are authorized to take all actions necessary to

effectuate the relief granted pursuant to this order in accordance with the Application.

       8.       The Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation of this order.

Dated: September ____, 2018




                                                UNITED STATES BANKRUPTCY JUDGE




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                            Exhibit A

                       Engagement Agreement

                            [INSERT]
